          Case 2:19-cv-00145-JM Document 58 Filed 10/21/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  DELTA DIVISION

MONTY M. SHELTON,
REG. #10426-078                                                                      PLAINTIFF

v.                                   2:19-cv-00145-JM-JJV

UNITED STATES OF AMERICA; and
JERRY CISSEL, Officer, SIS Investigations                                        DEFENDANTS


                                         JUDGMENT

       Consistent with the dismissal Orders entered separately, the Complaint is DISMISSED,

and this case is CLOSED. It is certified that an in forma pauperis appeal from this Judgment would

not be taken in good faith. 28 U.S.C. § 1915(a)(3).

       Dated this 21st day of October, 2020.


                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE
